        Case 3:15-cv-01370-MO         Document 194       Filed 08/31/18    Page 1 of 2




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Attorneys for Plaintiff


                             UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                    PORTLAND DIVISION



DANICA LOVE BROWN, individually and on              Case No. 3:15-cv-1370-MO
behalf of all others similarly situated,
                                                    NOTICE OF APPEAL
               Plaintiff,

       v.
STORED VALUE CARDS, INC. (d/b/a NUMI
FINANCIAL); and CENTRAL NATIONAL
BANK AND TRUST COMPANY, ENID,
OKLAHOMA,

               Defendants.




       TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

       Notice is hereby given that DANICA LOVE BROWN, Plaintiff in the above-named case,

hereby appeals to the United States Court of Appeals for the Ninth Circuit from the below-

enumerated orders entered in this action:

       1.      Order entered on August 25, 2016, granting in part and denying in part

               Defendants’ Motions to Dismiss Plaintiff’s Complaint [Dkt. 86];

       2.      Order entered on July 2, 2018, denying Plaintiff’s Motion for Leave to



                                 PLAINTIFF’S NOTICE OF APPEAL
       Case 3:15-cv-01370-MO      Document 194       Filed 08/31/18     Page 2 of 2




            File Amended Complaint [Dkt. 188]; and

      3.    Order entered on August 2, 2018, granting Defendants’ Motions for

            Summary Judgment and dismissing the action with prejudice [Dkt. 191].


DATED: August 31, 2018               Respectfully submitted,

                                     HUMAN RIGHTS DEFENSE CENTER


                                     By:          /s/ Sabarish Neelakanta
                                           Sabarish Neelakanta, Fla. Bar No. 26623
                                           Masimba Mutamba, Fla. Bar. No. 102772**
                                           Daniel Marshall, Fla. Bar No. 617210**

                                     Attorneys for Plaintiff DANICA LOVE BROWN


                                     ** Pro hac vice applications to be filed




                             PLAINTIFF’S NOTICE OF APPEAL
                                            2
